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                       IN THE UNITED STATES DISTRICT COURT
                                   DISTRICT OF MINNESOTA
------------------------------------------------------------------------------------------------------------

ISRAEL GARCIA, individually and on
behalf of a class of similarly situated individuals,

                                 Plaintiff,                      No.: 16-CV-02574-MJD-BRT

                        v.

TARGET CORPORATION, a Minnesota                                  L.R. 5.6(d)(1)(A) STATEMENT
corporation,

                                 Defendant.


                STATEMENT OF FILING UNDER TEMPORARY SEAL
                        PURSUANT TO L.R. 5.6(d)(1)(A)


        In connection with his Memorandum of Law in Opposition to Defendant’s Motion

for Summary Judgment (Dkt. 146), Plaintiff has filed under temporary seal Exhibits C, D,

E, F, G, and H. Exhibits C, D, E, F, G, and H were all designated in their entirety as

“Confidential” by Defendant pursuant to the protective order entered by the Court in this

matter. (Dkt. 49.) Accordingly, Plaintiff files this statement in lieu of filing redacted

versions of Exhibits C, D, E, F, G, and H.

Dated: December 13, 2018                         Respectfully submitted,
                                                 ISRAEL GARCIA, individually and on behalf
                                                 of a Class of similarly situated individuals
                                                 By: /s/ Eugene Y. Turin
                                                        One of His Attorneys



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